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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  AARON HERNANDEZ,
                                                                           Case No.: 1:22-cv-6918 (DG) (TAM)
                                          Plaintiff,
                                                                           DECLARATION   OF   SLOBODAN
                   -against-                                               RADIVOJEVIC IN SUPPORT OF
                                                                           DEFENDANTS’   MOTION    FOR
  HAPPY STREET LLC, HAPPY STREET TOO LLC, and                              SUMMARY JUDGMENT
  SLOBODAN RADIVOJEVIC a/k/a BOB RADIVOJEVIC,

                                           Defendants.
  -----------------------------------------------------------------X

           I, Slobodan Radivojevic, pursuant to 28 U. S.C. § 1746, declare as follows:

     1. I am an adult residing in the State of New York, and am also a Defendant in the above-

 referenced case.

     2. I respectfully submit this declaration in support of Defendants’ motion for summary

 judgment.

     3. Happy Street LLC (“Happy I”) is a domestic business limited liability company organized

 under the laws of the State of New York and is authorized to do business in the State of New York.

     4. I am the sole owner and member of Happy I, which was organized on October 27, 2011.

     5. Happy I was a pizzeria I owned and operated at 2127 Amsterdam Avenue, New York, NY

 10032-2515, and did business as “PiePie.”

     6. Happy Street Too LLC (“Happy II”) is a domestic business limited liability company

 organized under the laws of the State of New York and is authorized to do business in the State of

 New York.

     7. I am also the sole owner and member of Happy II, which was organized on March 17,

 2014.

     8. Happy II was a pizzeria I owned and operated at 924 Columbus Avenue, New York, NY

 10025-3743, and similarly did business as “PiePie.”
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     9. Happy I and Happy II both operated under the PiePie brand until Happy I went out of

 business in 2015. See final tax return of Happy I from 2017 showing “zero” return annexed hereto

 as Exhibit “A.”

     10. Plaintiff Aaron Hernandez (“Hernandez”) worked at both Happy I and Happy II.

     11. When Hernandez worked at Happy II, he was at all times paid somewhere between $850.00

 and $950.00 per week as a weekly salary without regard to the number of hours he worked.

     12. While I have been unable to find time and pay records, I recall that Hernandez earned

 $850.00 per week and, over time, was given raises (at least two) until he began earning $950.00

 per week.

     13. Hernandez was a manager at Happy II who was responsible for overseeing the remaining

 staff.

     14. Hernandez had the power to make recommendations about who to hire and fire, discipline

 the staff, and make important decisions concerning the operations of the pizzeria.

     15. However, all financial decisions – such as ordering food and supplies – were my domain,

 and Hernandez did not perform such duties.

     16. Hernandez worked at Happy I since in or about 2012 until 2015 when it was closed, then

 worked at Happy II until December 2017, when he went to work for a different pizzeria called

 Luigis.

     17. Hernandez mistakenly believes that I have an ownership interest in Luigis because it took

 over the space that Happy I was in.

     18. However, I merely worked to assist the owner of Luigis in order to remove my

 responsibility for the rent payments due under the lease as it was in my interest to do so.




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    19. I have no responsibility to Hernandez for the period of time he worked at Luigis because I

 did not maintain any ownership interest in nor operational control of that pizzeria when he worked

 there in 2018 and 2019.

        20.     Following the onset of the COVID-19 pandemic, like many, Hernandez flew down

 to Florida.

        21.     At the time, I owned and operated a pizzeria there at 7308 Collins Avenue, Miami

 Beach, FL 33141.

        22.     Hernandez worked at the Florida pizzeria from April 2020 through May 2020,

 resigning in late May on good terms because he had some personal problems in Miami.

        23.     When Hernandez worked at the Florida pizzeria, it was on the same financial terms

 and he had the same duties.

        24.     In 2019, Happy II earned gross revenue of $317,181.00. See copy of 2019 tax

 return annexed hereto as Exhibit “B.”

        25.     In 2020, Happy II earned gross revenue of $321,901.00. See copy of 2020 tax

 return annexed hereto as Exhibit “C.”

        26.     In 2021, Happy II earned gross revenue of $243,529.00. See copy of 2021 tax

 return annexed hereto as Exhibit “D.”

        27.     In 2022, Happy II earned gross revenue of $210,234.00. See copy of 2022 tax

 return annexed hereto as Exhibit “C.”

        28.     During his entire tenure with me at Happy II and at my Florida pizzeria, Hernandez

 did not perform any work involving or relating to the movement of persons among the United

 States of America (“USA”) or between any States within the USA.




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        29.    Hernandez’s work revolved around managing the employees and serving local

 customers with pizzeria.



        I declare under penalty of perjury that the foregoing is true and correct. Executed on

 January 6, 2025.


                                             ______________________
                                             Slobodan Radivojevic




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